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 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,            )
11                                        )    2:04-cr-0205-GEB
                        Plaintiff,        )
12                                        )
                  v.                      )    ORDER
13                                        )
     THA BUN HENG; CHHOM MAO; and         )
14   CLEVIE EARL BUCKLEY, JR.,            )
                                          )
15                      Defendants.       )
                                          )
16                                        )
17                In light of the dismissal ordered on November 22, 2006, the
18   proposed redacted indictment, document number 269-2, is filed nunc pro
19   tunc on November 22, 2006.
20                IT IS SO ORDERED.
21   Dated:     December 12, 2006
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23                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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